             Case 2:12-cr-00180-TLN Document 140 Filed 07/29/14 Page 1 of 2


 1   KELLY BABINEAU (CA State Bar #190418)
 2
     The Law Office of Kelly Babineau
     455 Capitol Mall, Suite 802
 3   Sacramento, CA 95814
     Tel:(916) 442-4948
 4
     Fax: (916) 492-2909
 5   kbabineau@klblawoffice.net
 6
     Attorney for IQUILA KHAN
 7

 8

 9
                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 12-CR-00180MCE
                      Plaintiff,        )
12                                      ) STIPULATION REGARDING
                                        ) PRETRIAL RELEASE
13
           v.                           ) SUPERVISION; ORDER
14                                      )
                                        )
15
     IQUILA KHAN                        )
16                                      )
                      Defendants.       )
17
     ________________________________) Judge: Hon. Morrison C. England
18

19
                                        STIPULATION

20         Upon recommendation of Pretrial Services and consent of the government, it is
21   hereby stipulated that Iquila Khan be released from the condition of pretrial services
22
     requiring random drug testing. Ms. Khan has been testing since she was released on
23

24
     May 3, 2012.     She initially was required to test twice monthly, but due to her

25   compliance, was tapered down to quarterly testing. She has had no violations and only
26
     one positive test. The positive test occurred in July of 2012, and was based upon a
27
     substance for which she had a valid prescription. This was not considered a violation.
28




                                              -1-
             Case 2:12-cr-00180-TLN Document 140 Filed 07/29/14 Page 2 of 2


 1   She has had no other positive tests. This recommendation is being made due to Ms.
 2
     Khan’s diligent compliance with pretrial supervision and consistent negative testing.
 3
     IT IS SO STIPULATED.
 4

 5   Dated: July 23, 2014                     Respectfully submitted,
 6

 7                                            /s/ Kelly Babineau
                                              KELLY BABINEAU
 8
                                              Attorney for Iquila Khan
 9
     Dated: July 23, 2014                     /s/ Jared Dolan
10                                            Kelly Babineau for:
11
                                              JARED DOLAN
                                              Assistant U.S. Attorney
12

13
     Dated: July 23, 2014                     /s/ Amaryliss Gonzalez
                                              Kelly Babineau for:
14                                            AMARYLISS GONZALEZ
                                              U.S. Pretrial Release Officer
15

16
                                            ORDER
17
           IT IS SO ORDERED.
18

19
     Dated: July 25, 2014
20

21

22

23

24

25

26

27

28




                                                -2-
